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    PS8
    (8/88)
                                    UNITED STATES DISTRICT COURT
                                                               for
                                                     NEW MEXICO

    U.S.A. vs Robert Hockman                                         Docket No. I : 19CR031 l3-004J8




                                      Petition for Action on Conditions of Pretrial Release

    COMES NOW Krystle       Avrit PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
-   of Robert Hockman who was placed under pretrial release supervision by the Honorable Kirtan Khalsa, United
    States Magistrate Judge, sitting in the court at Albuquerque, New Mexico, on April 27,2021, with conditions
    which included the following:

      1. (6): The defendant is placed in the custody of Four Winds Behavioral         Health in Rio Rancho, New Mexico,
             who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance to all
             court proceedings, and (c) notifu the court immediately if the defendant violates a condition of release or is no
             longer in the custodian's custody.

      2.     7(m): The defendant must not use or unlawfully possess a narcotic drug or other controlled substances
             defining in 2l U.S.C. 802, unless prescribed by a licensed medicalpractitioner.

      3.     7(o): The defendant must participate in a program of inpatient or outpatient substance abuse therapy and
             counseling if directed by the pretrial services office or super-vising officer- --

     RESPECTFULLY"RESENTING PETITION FOR ACTTON OF COURT AND FOR CAUSE AS FOLLOWS:

On May 72, 2021, Pretrial Services was contacted and informed that the defendant will be administratively
discharged from the Four Winds Behavioral Health for disengagement and lack of effort in treatment. The
defendant admitted to unlawfully bringing suboxone into the facility and providing positive urine tests for
suboxone.



PRAYING THAT THE COURT WILL ORDER A WARRANT FOR THE DEFENDANT'S ARREST

                                                           I declare under penalty of perjury that the loregoing is true and
                                                           correct.

                                                            Executed on: May 13.2021




                                                            Krystl    vnt
                                                            United          Probation Officer
                                                            Place: Albuquerque, New Mexico
